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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF GEORGIA
                                 ROME DIVISION


Melanie Hogan Sluder and                               )
Ricky Shawn Curtis, Individually                       )
and as Independent Administrators                      )
of the Estate of Alexis Marie Sluder,                  )
Deceased,                                              )
                                                       )
       Plaintiffs,                                     )       Case No. 4:24-cv-00181
                                                       )
v.                                                     )
                                                       )
Rebecka Phillips, et al,                               )
                                                       )
       Defendants.                                     )

     MOTION FOR VOLUNTARY DISMISSAL OF DEFENDANT GILMER COUNTY
       Pursuant to Federal Rule of Civil Procedure, Rule 41, Plaintiffs voluntarily dismiss their claims

against only Gilmer County, in the above-captioned action. Plaintiff’s dismissal is with prejudice.

Defendant Gilmer County agrees to this dismissal and has agreed not to pursue costs, fees, or other

relief associated with this litigation. All claims against remaining defendants in the above-captioned

action remain.


                                               Attorneys for Plaintiffs, Melanie Hogan Sluder
                                               and Ricky Shawn Curtis
                                               /s/ Sam Harton
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